                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION
                                       )
    UNITED STATES OF AMERICA,          )
                                       )
               Plaintiff,              )
                                       )
    v.                                 )     Case No.: 1:20-cr-10048-STA
                                       )
    JUSTIN COFFMAN,                    )
                                       )
               Defendant.              )
                                       )

                       UNITED STATES’ RESPONSE TO DEFENDANT’S
                                 MOTION TO SUPPRESS

           COMES NOW the United States of America, by and through Joseph C. Murphy, Jr., Acting

    United States Attorney for the Western District of Tennessee, and Hillary Lawler Parham,

    Assistant United States Attorney, and responds to Justin Coffman’s (hereinafter “Coffman” or

    “Defendant”) motion to suppress as follows:

                                                     FACTS

           The Defendant was charged with possession of two firearms while he was knowingly an

    unlawful user of a controlled substance by a Grand Jury in the Western District of Tennessee. RE

    15. This indictment stems from the execution of a search warrant at the Defendant’s residence1,

    which was supported by an affidavit sworn to by Major Kemper of the Jackson Police

    Department, which shall be attached and incorporated herein by reference. See Attached Exhibit

    1. While at the residence, Sgt. Donald and Sgt. Pinion of the Jackson Police Department

    Mirandized and Interviewed Coffman. Coffman admitted to officers that the AR15 rifle and SAR



1
  Pursuant to F.R. Crim.P. 49.1, the home addresses are intentionally redacted. However, for clarification purposes
the subject of the search warrant will be referred to as “the Defendant’s residence.” The home addresses and
personal identifying information have also been redacted in the attached Exhibit 1.
    Arms pistol and marijuana found inside the residence were his. Coffman also admitted to

    smoking 1-2 grams of marijuana every day. This indictment followed. Coffman is also charged

    in Madison County Circuit Court in Case No. 20-7780 with Possession of a Hoax device in

    violation of T.C.A. § 39-17-1302; Possession of a Schedule VI (marijuana) in violation of T.C.A.

    § 39-17-418; and five counts of Possession of Drug Paraphernalia in violation of T.C.A. § 39-17-

    425; all stemming from the same set of facts as the instant case. In fact, it is the state indictment

    that led officers to the Coffman residence on June 2, 2020. However, it is important to note that

    a state of civil unrest and protest began on May 26, 2020, across the United States in response to

    the death of George Floyd on May 25, 2020. Over a three-night period, a five-mile stretch of

    Minneapolis, Minnesota sustained extensive damage from riots, looting and fire. The police

    precinct was set on fire and many locally owned businesses were destroyed by fire2. Similar riots

    arose across the country during this same time-period causing up to $1 billion in damages from

    May 26, 2020 until June 8, 20203.

           This reminder of the events in the summer of 2020 put the information received by the

    affiant in context. On May 28, 2020, a local law enforcement officer observed the Defendant’s

    post on Facebook. The three similar depictions in the Facebook post were of the Defendant

    standing in an alley near the Jackson City Court building facing a Jackson Police Department

    transport van. The Defendant was holding behind his back a glass bottle filled with a yellowish

    tan liquid and a rag inserted into the throat of the bottle fashioned to appear to be a Molotov

    Cocktail. The Defendant also had a lighter in his hand and was wearing a distinctive black leather



2
  Farrah Stockman, They Have Lost Control: Why Minneapolis Burned, The New York Times, Published July 3,
2020, updated Feb. 26, 2021, https://www.nytimes.com/2020/07/03/us/minneapolis-government-george-floyd.html.
Last visited July 7, 2021.
3
  Kaelan Deese, Vandalism, looting following Floyd death sparks at least $1B in damages nationwide: report, Pub:
September 16, 2020 at 03:43 PM EDT, The Hill. https://thehill.com/homenews/news/516742-vandalism-looting-
after-floyd-death-sparks-at-least-1-billion-in-damages-report.
    jacket with patches on the back and a black ball cap turned around backwards. The words printed

    on the hat were “BURN THE SYSTEM TO THE GROUND.” The Defendant had a “Guy

    Fawkes4” mask slung over his shoulder. The Facebook post and the three photographs were

    captioned, “Was saving these pictures but now seems like a good time. ‘You will bathe in the

    flames born from your hatred.’” See Exhibit 2




                                                     Exhibit 2


           When Officer Wright observed this post on the Facebook page known as “The Gunpowder

    Plot,” as well as, the page of a person identifying himself as Justin Coffman, she notified her

    supervisor, Sgt. Richardson. Sgt Richardson then disseminated a photo of the post to the Jackson

    Police Department officers in an “officer safety” email. By the next morning, Lt. Chestnut with

    the Jackson Police Department was able to confirm that the Facebook profile was operated by the



4
  A co-conspirator to Robert Catesby during the Gunpowder Plot. See History.com Editors, Gunpowder Plot.
Originally posted November 9, 2009, updated June 7, 2019.           https://www.history.com/topics/british-
history/gunpowder-plot.
Defendant. Lt. Chestnut found an acquittance and asked the acquittance to pass along a message

for the Defendant to contact Lt. Chestnut. The Defendant contacted Lt. Chestnut that afternoon

confirming his identity in the photograph holding a “Molotov Cocktail,” but claimed that the

bottle only contained apple juice and was used to support his musical band.

       Two days later there was a peaceful protest scheduled near the Old Hickory Mall in

Jackson, Tennessee. Jackson Police Department provided public safety for the event. The event

then changed locations to the downtown area near the Jackson City Hall and the Madison County

Courthouse. While on patrol at these citizen lead events, two officers noticed Coffman from the

photograph emailed to them in the officer safety email at both locations. It was noted by at least

one of the officers at this event that the jacket worn by Coffman at this event had the “appearance

of neo-Nazi / white supremacist type symbols on the jacket.” See Exhibit 1, Page 2 of 5.

       The radio transmissions between the two officers caused Major Kemper to go to the

location and he observed Coffman get into a Nissan Altima, which was registered to Justin

Coffman at the Defendant’s residence, and drive away from the protest. The next morning Major

Kemper observed a newspaper article in the Jackson Sun with what appeared to be the person he

had thought was Justin Coffman. However, the newspaper article lists the man’s name as Robert

Catesby. Based upon all the information officers had received to this point, the officers then tried

to determine who Robert Catesby may be and any connection to Justin Coffman.
        It was then Jackson Police Department Intelligence Analyst Webb informed Major

Kemper about the connection between the Gunpowder Plot and Robert Catesby being a co-

conspirator in the 17th century botched attempt to blow up the King of England and Parliament

with barrels of gunpowder. Based upon the photographs posted to social media, the admission to

the possession of an alleged “fake” Moltov Cocktail, the Defendants appearance at protests

claiming the name of a 17th century conspirator in a plot to blow up a governmental body, Major

Kemper continued surveillance on the Defendant’s residence. Major Kemper observed the

Maroon Altima the Defendant was observed leaving the protest in, parked in front of the

Defendant’s residence on two occasions prior to the search warrant. Major Kemper determined

that Justin Coffman’s driver’s license showed the address listed as the Defendant’s residence, as
 well as the vehicle’s registration. At that point, Major Kemper prepared the affidavit and

 presented the search warrant to Judge Morgan of the Madison County Circuit Court to search for

 evidence relating to a hoax device or otherwise actual improvised explosive incendiary device in

 violation of Tennessee Code Annotated Section 39-17-1302, which prohibits a person from

 intentionally or knowingly possessing, manufacturing, transporting, repairing or selling an

 explosive or an explosive weapon, …, or a hoax device. T.C.A. §§ 39-17-1302(a)(1) and (a)(5).

                                         DISCUSSION

1.     The Affidavit of Major Kemper sufficiently establishes probable cause.

       The U.S. Supreme Court has identified probable cause to search as “a fair probability that

contraband or evidence of a crime will be found in a particular place.” Illinois v. Gates, 462 U.S.

213, 238 (1983). Determining whether probable cause exists is not an exact science, and judges

are instructed to look at the totality of the circumstances and in a reasonable and common sense

manner. The exact quantum of support required has frequently been described as a fair probability,

but more than a mere suspicion, that such evidence will be discovered. As such, the court

ordinarily accords great deference to a magistrate’s determination and it will not reverse his

decision if the record contains a substantial basis for his probable cause findings. United States v.

Asker, 676 F.Appx 447 (6th Cir. 2017). Moreover, the “review of an affidavit and search warrant

should rely on a ‘totality of the circumstances’ determination rather than a line-by-line scrutiny.”

United States v. Greene, 250 F.3d 471, 479 (6th Cir. 2001)(quoting United States v. Allen, 211 F.3d

970, 973 (6th Cir. 2000) cert. denied 531 U.S. 907 (2000). “The probable cause requirement … is

satisfied if the facts and circumstances are such that a reasonably prudent person would be

warranted in believing that an offense had been committed and that evidence thereof would be

found on the premises to be searched.” United States v. Beasase, 521 F.2d 1306, 1307 (6th Cir.
1975). Accordingly, “the task of the issuing magistrate is simply to make a practical, common-

sense decision whether, given all the circumstances set forth in the affidavit before him, including

the ‘veracity’ and ‘basis of knowledge’ of persons supplying hearsay information, there is a fair

probability that contraband or evidence of a crime will be found in a particular place.” Gates at

238.

        Furthermore, “a magistrate’s decision to grant a search warrant should only be reversed if

it was arbitrarily exercised.” Greene, 250 F.3d at 478. “The duty of the reviewing court is simply

to ensure that the magistrate had a substantial basis for concluding that probable cause existed.”

United States v. Laughton, 409 F.3d 744, 747 (6th Cir. 2005) (citing Gates, 462 U.S. at 238-39).

A finding of probable cause does not require an ‘actual showing of such activity,’ but instead,

“requires ‘only a probability or substantial chance of criminal activity….” United States v. Smith,

182 F.3d 473, 477 (6th Cir. 1999) (quoting Gates 462 U.S. at 244, n.13).

        In the case at bar, the country was in a time of civil unrest where riots, looting, and burning

was occurring in cities across the nation. The defendant posted a reference to such activities on his

Facebook page and that photo was then shared by a Facebook page titled The Gunpowder Plot. At

a protest in Jackson, the defendant gave a false name of Robert Catesby to the local newspaper,

which was another reference to The Gunpowder Plot. The defendant confirmed to officers that he

was in possession of what appeared to be a Molotov Cocktail but claimed it was apple juice. Based

upon the totality of these circumstances, officers had probable cause to believe there would be

evidence of either an explosive device or a hoax device within the confines of the defendant’s

home.

2.      Nexus

        The Defendant alleges because the Facebook Post took place outside the home, the warrant
lacks a sufficient nexus. Def. Mtn. to Supp. DE 28, PageID 55.

       The nexus between the evidence sought and the place to be searched is established in Major

Kemper’s affidavit. U.S. v. Carpenter, 360 F.3d 591 (6th Cir. 2004) is relied upon by the defendant

in his motion. Carpenter requires evidence of criminal activity and the relation of the residence to

the activity, which is shown in Major Kemper’s affidavit.

       The object appearing to be a Molotov Cocktail posted to Facebook by Coffman was

comprised of what appeared to be a glass bottle filled with a tan liquid with a rag placed down the

throat of the bottle. When speaking to Lt. Chestnut, Coffman admitted he did in fact possess the

item but that the contents were apple juice and he intended to use the photo to promote his musical

band. These items are all common household items and given the illegal and suspicious nature of

creating such a device it is prudent to both create and store such an item in an area in which the

owner has control of the area and can secure it. A practical and common-sense evaluation of these

facts by a reasonably prudent person makes clear that there is a “a fair probability that contraband

or evidence of a crime will be found” in the home of the defendant. Illinois v. Gates, 462 U.S. 213,

238 (1983).

       This case is distinguished from Carpenter in that Coffman actually lived in the house and

prior to the swearing of the warrant admitted to law enforcement he was in possession of the

Molotov Cocktail, which was the focus of the search.

       The affidavit must suggest “that there is reasonable cause to believe that the specific

‘things’ to be searched for and seized are located on the property to which entry is sought” and not

merely “that the owner of the property is suspected of a crime.” United States v. McPhearson, 469

F.3d 518, 524 (6th Cir. 2006) (quoting Zurcher v. Standford Daily, 436 U.S. 547, 556 (1978)).

“[W]hether a sufficient nexus has been shown to a particular location turns in part on the type of
crime being investigated, the nature of the things to be seized, the extent of the opportunity to

conceal the evidence elsewhere, and the normal inferences that may be drawn as to likely hiding

places.” United States v. Savocan, 761 F.2d 292, 298 (6th Cir. 1985). See also Williams, 544 F.3d

at 686-87 (noting that a court “is entitled to draw reasonable inferences about where evidence is

likely to be kept, based upon the nature of the evidence and type of offense, and holding that it

was reasonable to infer that a suspected drug dealer would keep evidence of his crime at his

residence (citation omitted)). See also United States v. Jackson, 756 F.2d 703, 705 (9th Cir. 1985)

(holding that it was a reasonable inference that a bank robber would keep stolen currency in his

residence despite the passage of more than two months between the time of the robbery and the

search).

       Once a search warrant has been issued, “great deference” is due when reviewing a judicial

officer’s determination of probable cause. Trinity Indus., Inc., v. Occupational Safety and Health

Review Comm’n, 16 F.3d 1455, 1459 (6th Cir. 1994). The courts should not “invalidate a warrant

by interpreting an affidavit in a hyper-technical, rather than a common sense, manner.” United

States v. Davidson, 936 F.2d 856, 859 (6th Cir. 1991). In the instant case, the United States submits

that the search warrant is proper under the totality of the circumstances. United States. v. Kinison,

710 F.3d 678 (6th Cir. 2013).

3.     Coffman has not made a preliminary showing that a Franks hearing is warranted nor
       has he demonstrated by a preponderance of evidence that the affidavit contained a
       knowingly or recklessly false statement, or omitted information, that was material to
       the probable cause determination.

       The Defendant alleges in his motion that the jacket suggests “a mischaracterization alleged

to the Judge in the Affidavit.” Def. Mtn. to Supp. DE 28, PageID 50.

       In Aguilar v. Texas, 378 U.S. 108, 109 n.1 (1968), the Court noted “[i]t is elementary that

in passing on the validity of a warrant, the reviewing court may consider only information brought
to the [issuing judge’s] attention.” There is, however, an exception to this general rule created by

Franks. In Franks, the Supreme Court held that a court may have a hearing in which it considers

evidence that was not before the issuing judge if the defendant can show that the affiant made a

false statement or recklessly disregarded the truth in his affidavit. Franks v. Delaware, 438 U.S.

154, 155-56 (1978). However, before such a hearing, the defendant must first make a substantial

preliminary showing that a false statement, which was necessary to the finding of probable cause,

was knowingly or recklessly included by the affiant in the warrant affidavit. Id. If the hearing is

granted, the defendant must then establish by a preponderance of the evidence that, (1) “the

allegation of perjury or reckless disregard is established . . . [and (2),] the affidavit’s remaining

content is insufficient to establish probable cause.” Id. at 156; United States v. Elkins, 300 F.3d

638, 649 (6th Cir. 2002).

       Franks also extends to circumstances in which an officer intentionally or recklessly omits

evidence in a search-warrant affidavit that is critical to determining the existence of probable

cause. See United States v. Carpenter, 360 F.3d 591, 596 (6th Cir. 2004) (en banc). “[T]o be

constitutionally problematic, the material must have been deliberately or recklessly omitted and

must have undermined the showing of probable cause.” Id. at 596–97; see also United States v.

Duval, 742 F.3d 246, 250-51 (6th Cir. 2014) (citing Carpenter). Notably, “an affidavit which omits

potentially exculpatory information is less likely to present a question of impermissible official

conduct than one which affirmatively includes false information.” United States v. Atkin, 107 F.3d

1213, 1217 (6th Cir. 1997). Thus, in the case of an alleged omission from an affidavit, a Franks

hearing will be justified only in “rare instances.” Mays v. City of Dayton, 134 F.3d 809, 815 (6th

Cir. 1998). This is so because “[a]n affiant cannot be expected to include in an affidavit every

piece of information gathered in the course of an investigation.” Id. (citation omitted).
       Coffman argues that the information contained in the affidavit is inaccurate. However, he

did not make a preliminary showing that he was entitled to a Franks hearing. In fact, the

government’s position is that the affidavit is not wholly inaccurate. The officer told Major Kemper

that there was the appearance of neo-Nazi/ white supremacist type symbols on the jacket.

Depending on the distance from which the officer observed the label pin on the jacket and the

environment the officer was observing the jacket in, it is very possible the officer believed there

was a swastika on the Defendant’s jacket. See Exhibit 3




                                             Exhibit 3

       The government further maintains that, apart from failing to make a preliminary showing

of entitlement to a Franks hearing, the small portion of the affidavit regarding the “appearance of

neo-Nazi / white supremacist type symbols on the jacket worn by the subject” was not material to

a finding of probable cause. Absent the statement regarding the believed nature of the patches and

pins on the jacket, there is still probable cause to believe the defendant possessed either an

explosive device or hoax device. Notably there is a patch of what appears to be a Molotov Cocktail

on the jacket. However, the statement of the appearance of the jacket served more as identification

that the man present at the protest and quoted in the local paper was the same man from the
Facebook picture than it was a statement of neo-Nazi / white supremacist beliefs used to further

probable cause.

4.     Protected Speech Argument

       The Defendant argues that his Facebook post is protected by his First Amendment right to

free speech.   Def. Mtn to Suppress.       DE 28, PageID 52.        However, the Defendant cites

Brandenburg v. Ohio, 395 U.S. 444, 89 S. Ct. 1827, 23 L.Ed. 2d 430 (1969) (which was a case

where the defendant was convicted of violation the criminal syndicalism statute, which was found

to be unconstitutional), Bible Believers v. Wayne Cty., Mich., 805 F.3d 228 (6th Cir. 2015) (which

was a § 1983 action against the Sheriff’s Department for limited the speech of the Plaintiffs at a

rally) and Nwanguma v. Trump, 903 F.3d 604 (6th Cir. 2018) (which was a liability suit where the

plaintiffs were seeking damages against the defendants for injuries sustained while at a rally in

which they were exercising their First Amendment right) in support of this argument. None of

which have any relationship with statements the Defendant voluntarily placed on Facebook being

used as evidence to determine probable cause.

       The First Amendment to the United States Constitution ensure that “Congress shall make

no law … abridging the freedom of speech….” U.S. Const. amend. I, it does not preclude the

government from charging individuals with speech-based crimes. United States v. Jeffries, 692

F.3d 473, 478 (6th Cir. 2012) (citing United States v. Varani, 435 F.2d 758, 762 (6th Cir. 1970). In

striking the balance between the constitutional right to freedom of speech with the government’s

duty to ‘protect[] individuals from the fear of violence, from the disruption that fear engender, and

from the possibility that the threatened violence will occur,’ the First Amendment requires, for

charges based upon the speech (for example 18 U.S.C. § 875(c)) that the threat be a “true threat.”

Jefferies, 692 F.3d at 478 (citing Watts v. United States, 394 U..S. 705, 707, 89 S.Ct. 1399, 22
L.Ed. 2d 664 (1969)). However, in this case, the Defendant is not charged for his speech and he

was not prohibited from posting his speech on Facebook. It was simply used as evidence for a

Judge to determine whether there was probable cause that a Molotov Cocktail or a hoax device

was likely to be found in the Defendant’s residence. This would be akin to someone posting a

photograph of a large cache of drugs or other contraband to their Facebook page with a caption

indicating their intended purpose for the contraband.

5.     The information provided in the affidavit was not stale.

       The defendant contends that the information contained in the affidavit was stale because it

took place five days after the Facebook post. DE 28, PageID 56.

       However, “the function of a staleness test in the search warrant context is not to create an

arbitrary time limitation within which discovered facts must be presented to the magistrate.”

United States v. Spikes, 158 F.3d 913, 923 (6th Cir. 1998) (quoting United States v. Henson, 848

F.2d 1374, 1382 (6th Cir. 1988). “[T]he question of staleness depends on the ‘inherent nature of

the crime.’ Spikes, 158 F.3d at 923.

               Instead of measuring staleness solely by counting the days on the
               calendar, courts must also concern themselves with the following
               variables: ‘the character of the crime (chance encounter in the night
               or regenerating conspiracy?), the criminal (nomadic or
               entrenched?), the thing to be seized (perishable and easily
               transferable or of enduring utility to its holder?), the place to be
               searched (mere criminal forum of convenience or secure operational
               base?), etc.’” Id.

       However, “evidence of ongoing criminal activity will generally defeat a claim of

staleness.” United States v. Canan, 48 F.3d 954, 958 (6th Cir. 1995).

               As these variables demonstrate, even if a significant period has
               elapsed since a defendant's last reported criminal activity, it is still
               possible that, depending upon the nature of the crime, a magistrate
               may properly infer that evidence of wrongdoing is still to be found
               on the premises. See United States v. Greany, 929 F.2d 523, 525 (9th
               Cir.1991) (holding information not stale even though an informant
               said that two years ago he had remodeled defendant's premises to
               allow him to grow marijuana on second floor, with the court
               emphasizing that the information showed “an ongoing criminal
               business of a necessarily long-term nature”); see also United States
               v. Johnson, 461 F.2d 285, 287 (10th Cir.1972) (stating the general
               principle that when “the affidavit properly recites facts indicating
               activity of a protracted and continuous nature, a course of conduct,
               the passage of time becomes less significant”).

Spikes, 158 F.3d 923-24.

       Therefore, “where the criminal activity occurred in a ‘secure operational base’ the passage

of time becomes less significant.” Id.

       In this case, the nature of a Molotov Cocktail or hoax device is that it is capable of being

stored in its condition until used, and as discussed above, the nature of the device is such that it is

likely to be stored in an area in which the defendant can maintain security and control. The home

of the defendant is certainly a secure area in which the defendant has control and the nature of the

evidence sought is such that the materials are not perishable and maintain their enduring utility to

the holder until used. Given that the question of staleness is subject to the “inherent nature of the

crime” it is reasonable to believe the defendant was currently in possession of evidence in support

of the crime a mere 4 days after the phone conversation in which the defendant confirmed he

possessed a hoax device and the day after he gave a false name linked to The Gunpowder Plot at

a protest, in a time in which the nation was in turmoil with riots, looting, and burning of cities.

6.     The Leon Good Faith Exception

       Our Court of Appeals has explained the good-faith exception to the exclusionary rule as

follows:

               Even if a search warrant is defective, the Court will not suppress
               evidence seized pursuant to such warrant if the seizure was based on
               reasonable, good faith reliance on the warrant. The Supreme Court
               explained the mechanics of the good faith exception:
               “[O]ur good-faith inquiry is confined to the objectively
               ascertainable question whether a reasonably well trained officer
               would have known that the search was illegal despite the
               magistrate’s authorization. In making the determination, all of the
               circumstances-including whether the warrant application had
               previously been rejected by a different magistrate-may be
               considered.” Leon, 468 U.S. at 922-23 n.23, 104 S.Ct. 3405. The
               rationale behind the exception is that the exclusionary rule is meant
               to deter unlawful police conduct. This policy of deterrence is not
               served by the exclusion of evidence seized in good faith by the
               police.

               On the other hand, the good faith exception does not apply in the
               following specific circumstances: “1) the supporting affidavit
               contained knowing or reckless falsity; 2) the issuing magistrate
               wholly abandoned his or her judicial role; 3) the affidavit is ‘so
               lacking in probable cause as to render official belief in its existence
               entirely unreasonable;’ or 4) where the officer’s reliance on the
               warrant was neither in good faith nor objectively reasonable.”
               Frazier, 423 F.3d at 533 (quoting Leon, 468 U.S. at 923, 104 S.Ct.
               3405.

United States v. Abboud, 438 F.3d 554, 578 (6th Cir. 2006) (internal citations omitted). The

defendant has presented no argument to negate application of this law.

       Here, defendant claims the affidavit is lacking because it is a bare-bones affidavit. DE 28,

PageID 57-58. “Reasonable minds frequently may differ on the question whether a particular

affidavit establishes probable case, and [the Supreme Court has] thus concluded that the preference

for warrants is most appropriately effectuated by according ‘great deference’ to a magistrate’s

determination.” Leon, 468 U.S. at 914. “[T]he possession of a warrant by officers conducting an

arrest or search greatly reduces the perception of unlawful or intrusive police conduct, by assuring

‘the individual whose property is searched or seized of the lawful authority of the executing officer,

his need to search, and the limits of his power to search.’ United States v. Chadwick, 433 U.S. 1,

9, 97 S.Ct. 2476, 2482, 53 L.Ed.2d 538 (1977). Reflecting this preference for the warrant process,

the traditional standard for review of an issuing magistrate’s probable cause determination has
been that so long as the magistrate had a ‘substantial basis for … conclude[ing]’ that a search

would uncover evidence of wrongdoing, the Fourth Amendment requires no more.” Illinois v.

Gates, 462 U.S. 213, 236, 103 S. Ct. 2317, 2331, 76 L. Ed. 2d 527 (1983). “If the purpose of the

exclusionary rule is to deter unlawful police conduct, then evidence obtained from a search should

be suppressed only if it can be said that the law enforcement officer had knowledge, or may

properly be charged with knowledge, that the search was unconstitutional under the Fourth

Amendment.” Leon, 104 S.Ct. at 3419-20 (quoting United States v. Peltier, 422 U.S. 531, 542, 95

S.Ct. 2313, 2320, 45 L.Ed.2d 374 (1975)). No such knowledge can be imputed to the affiant in

this case.

        A bare bones affidavit has been defined as one that states only “suspicions, beliefs, or

conclusions, without providing some underlying factual circumstances regarding veracity,

reliability and basis of knowledge.” Laughton, 409 F.3d at 748 (citation omitted). A bare-bones

affidavit is a conclusory affidavit, one that asserts “only the affiant’s belief that probable cause

existed.” United States v.Williams, 224 F.3d 530, 533 (6th Cir. 2000) (citation omitted). It

contains a mere “guess that contraband or evidence of a crime would be found.” United States v.

Schultz, 14 F.3d 1093, 1098 (6th Cir. 1994), and is “completely devoid” of facts to support the

affiant’s judgment that probable cause exists, Carpenter, 360 F.3d at 595-96, or is “so vague as to

be conclusory or meaningless.” United States v. Frazier, 423 F.3d 526, 536 (6th Cir. 2005). An

affidavit is not bare-bones if it contains “a minimally sufficient nexus between the illegal activity

and the place to be searched to support an officer’s good faith belief in the warrant’s validity even

if the information provided was not enough to establish probable cause.” Carpenter, 360 F.3d at

596. If the reviewing court is “able to identify in the averring officer’s affidavit some connection,

regardless of how remote it may have been” …“some modicum of evidence, however slight, to
connect the criminal activity at issue and the place to be searched,” then the affidavit is not bare-

bones and official reliance on it is reasonable. Laughton, 409 F.3d at 749-50.

       Most notably, here the defendant confirmed to Lt. Chestnut that he was in possession of a

what he claimed to be a hoax device comprised of apple juice rather than a functional Molotov

Cocktail. The defendant posted a photo of such and the photo was shared by a page titled The

Gunpowder Plot. The defendant then gave a false name to the local newspaper, a suspicious

behavior, when quoted at a protest, and that false name was linked to The Gunpowder Plot. This

is hardly a bare bores affidavit devoid of any “modicum of evidence.”

       Assuming only for the sake of argument that the Court should conclude that the search

warrant in this case was deficient, then the government avers that this Court should apply the rule

of Leon to this case.

                                         CONCLUSION

       For all of the foregoing reasons, it is respectfully requested that this Court deny defendant

Coffman’s motion to suppress.


                                                       Respectfully submitted,

                                                       JOSEPH C. MURPHY, JR.
                                                       Acting United States Attorney

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                                 CERTIFICATE OF SERVICE
       I, Hillary Lawler Parham, do hereby certify that a true and exact copy of the foregoing

document has electronically submitted to all counsel of record via the Court’s electronic filing

system, on this the 8th day of July, 2021.

                                                    /s/Hillary Lawler Parham
                                                    HILLARY LAWLER PARHAM
                                                    Assistant United States Attorney
